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                   IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF OREGON •

                                  MEDFORD DIVISION


In re the Matter of J.P. and E.P:

ARNAUD PARIS,                                             Civ. No. l:24-cv-00648-AA

                    Petitioner,                               OPINION & ORDER
              V.


HEIDI MARIE BROWN,

                    Respondent.


AIKEN, District Judge.

       This case comes before the Court on Petitioner's Motion for Order of

Alternative Service by Email. ECF No. 5. Petitioner asserts that he has been unable

to serve Respondent at her last known address and seeks leave to either serve

Respondent by email or to have service completed by the U.S. Marshals Service. For

the reasons set forth below, the Motion is DENIED with leave to refile.

      The Federal Rules of Civil Procedure authorize four methods of service on an

individual:

   (1) Following the state law for serving a summons in an action brought in courts

      of general jurisdiction in the state where the district court is located or where

      service is made; or

   (2) Doing any of the following:




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       (A) Delivering a copy of the summons and the complaint to the individual

          personally;

       (B) Leaving a copy of each at the individual's dwelling or usual place of abode

          with someone of suitable age and discretion who resides there; or

       (C) Delivering a copy of each to an agent authorized by appointment or by law

          to receive service of process.

Fed. R. Civ. P. 4(e).

       Under state law, the Oregon Rules of Civil Procedure provide that:

      Summons shall be served, either within or without this state, in any
      manner reasonably calculated, under all the circumstances, to apprise
      the defendant of the existence and pendency of the action and to afford
      a reasonable opportunity to appear and defend ... Service may be made,
      subject o the restrictions and requirements of this rule, by the following
      methods: personal service of true copies of the summons and the
      complaint upon defendant or an agent of defendant authorized to receive
      process; substituted service by leaving true copies of the summons and
      the complaint 3:t the person's dwelling house or usual place of abode;
      office service by leaving true copies of the summons and the complaint
      with a person who is apparently in charge of an office; service by mail;
      or service by publication.

Or. R. Civ. P. 7(D)(l).

       Oregon law provides for alternative service "when it appears that service is not

possible under any method otherwise specified in these rules or other rule or statute."

Or. R. Civ. P. 7(D)(6). Such alternatives include service by email. Or. R. Civ. P.

7(D)(6)(b). Here, Petitioner has provided evidence of some limited efforts to serve

Respondent by ordinary methods, which have been so far unsuccessful. The Court is

not convinced, however, that Petitioner has shown that service is not possible save

by alternative means. The Court therefore DENIES the motion. However, given the


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nature of Petitioner's claims, the Court is prepared to revisit the possibility service


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                     Petitioner has filed other motions seeking substantive relief from this Court.

Without proper service, a court cannot exercise jurisdiction over a party. See Direct

Mail Specialists Inc. v. Eclat Computerized Tech., Inc., 840 F.2d 685, 688 (9th Cir.

1988) ("A federal court does not have jurisdiction over a defendant unless the

defendant has been properly served under [Federal Rule of Civil Procedure] 4.") As

a result, the Court cannot consider Petitioner's various other motions unless and until

Respondent has been served.

                     It is so ORDERED and DATED this -~1=9=th~_ day of April 2024.


                                                                                                                  /s/Ann Aiken
                                                                                                                 ANN AIKEN
                                                                                                                 United States District Judge




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